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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 SHAWN CONNORS, Individually and on Behalf of
 All Other Persons Similarly Situated,
                              Plaintiffs,

                 v.

 MGM SPRINGFIELD, LLC,
                                 Defendant.

                                 CLASS ACTION COMPLAINT

        Plaintiff, Shawn Connors (“Plaintiff”), by his attorneys, alleges the following on behalf of

himself and all others similarly situated.

                                         INTRODUCTION

        Plaintiff brings this action individually, and on behalf of all other persons similarly situated,

against his employer, MGM Springfield, LLC (“MGM”), because of MGM’s violation of state

and federal wage-and-hour laws. These violations include MGM implementing and enforcing

illegal policies of: (1) calculating overtime rates for tipped employees based on service rates

instead of the basis minimum wage, (2) paying its tipped employees less than the basic minimum

wage, (3) taking a tip credit towards its minimum wage obligations for tipped employees without

providing required notice that it was doing so and (4) deducting gaming employee license fees

(a/k/a “Badge/Card” fees) from employees’ wages.

                                  JURISDICTION AND VENUE

   1.     This action is brought as a collective action pursuant to 29 U.S.C. §216(b), relative to the

federal law claims, and as a class action under Massachusetts Rules of Civil Procedure 23, relative

to the state law claims, on behalf of Plaintiff and all other persons who are or have been employed

by Defendant as tipped employees.

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    2.     The tipped employees are similarly situated because they are all subject to Defendant’s

common policies and practices of as listed above in the Introduction.

    3.     This Court has jurisdiction over the subject matter of Count I pursuant to 28 U.S.C. §1331

and 29 U.S.C. §216(b).

    4.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

    5.     Defendant regularly conducts business in this district.

    6.     A substantial part of the events and omissions giving rise to Plaintiff’s claims occurred

in this district.

    7.     Defendant is engaged is interstate commerce.

                                             PARTIES

    8.     Plaintiff, Shawn Connors, is, and at all relevant times was, a resident of 14 Dydo Drive,

Uncasville, Connecticut 06382.

    9.     Defendant, MGM Springfield, LLC (“MGM”), is a luxury casino located at One MGM

Way, Springfield, Hampden County, Massachusetts 01103.

                                     BACKGROUND FACTS

    10.    MGM is a casino with approximately 125,000 square feet of gaming space, 2,500 slot

machines, 93 gaming tables, 23 poker tables and a high limit VIP gambling area.

    11.    MGM opened to the general public on August 24, 2018.

    12.    Defendant was at all relevant times an “employer” of the Plaintiff as that term is defined

in 29 U.S.C. §203(d) and Massachusetts law.

    13.    Plaintiff was at all relevant times an “employee” of Defendant as defined in 29 U.S.C. §

203(e) and Massachusetts law.




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   14.   Plaintiff was at all relevant times “employed” by Defendant as defined in 29 U.S.C. §

203(g) and Massachusetts law.

   15.   Defendant was at all relevant times an “enterprise engaged in commerce or in the

production of goods for commerce” as defined in 29 U.S.C. § 203(s).

   16.   Plaintiff was at all relevant times an employee “engaged in commerce or in the

production of goods for commerce” as defined in 29 U.S.C. § 207.

   17.   Plaintiff worked more than forty hours in at least one workweek.

   18.   Plaintiff was not paid overtime wages at the rate of one-and-one-half times the basic

minimum wage for all hours worked in excess of forty during each workweek as required by the

FLSA and Massachusetts law.

   19.   Plaintiff was not paid at least the basic minimum wage for all hours worked under forty

in a workweek as required by the FLSA and Massachusetts law.

   20.   Plaintiff was paid a service rate during his employment with MGM.

   21.   Defendant took a tip credit related to the payment of Plaintiff’s wages.

   22.   Defendant failed to properly inform its employees, including Plaintiff, about the tip credit

as required by Massachusetts law (M.G.L. c.151, § 7, paragraph 3).

   23.   Defendant failed to properly inform its employees, including Plaintiff, about the tip credit

as required by federal law (29 U.S.C. § 203(m)).

               PLAINTIFF’S EMPLOYMENT AND WAGES WITH MGM

MINIMUM WAGE AND TIP CREDITS

   24.   Massachusetts law and federal law have special rules for the payment of wages to tipped

employees.




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   25.   Under federal law, tipped employees are those that customarily and regularly receive

more than $30.00 per month in tips.

   26.   Under Massachusetts law, tipped employees are those that regularly receive gratuities of

more than $20.00 per month in tips.

   27.   Under federal law and Massachusetts law, employers may pay tipped employees a sub-

minimum wage, also known as a “service rate” which is less than the lowest applicable minimum

wage, also called the “basic minimum wage.”

   28.   Under federal law and Massachusetts law, employers may then credit gratuities received

by the employee to make up the difference between the basic minimum wage and the service rate.

   29.   Under federal law, the basic minimum wage has been $7.25 since July 24, 2009 and

employers have been permitted to take a tip credit of up to a maximum of $5.12 per hour for tipped

employees and pay a minimum service rate of $2.13 per hour.

   30.   The $5.12 per hour is the difference between the service rate under federal law ($2.13)

and the basic minimum wage under federal law ($7.25).

   31.   Under Massachusetts law, the basic minimum wage was $11.00 in 2018 and employers

were permitted to take a tip credit of up to a maximum of $7.25 per hour for tipped employees and

pay a minimum service rate of $3.75 per hour.

   32.   The $7.25 per hour is the difference between the service rate under Massachusetts law

($3.75) and the basic minimum wage under Massachusetts law ($11.00).

   33.   Under Massachusetts law, the basic minimum has been $12.00 since January 1, 2019 and

employers have been permitted to take a tip credit of up to a maximum of $7.65 per hour for tipped

employees and pay a minimum service rate of $4.35 per hour.




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   34.   The $7.65 per hour is the difference between the service rate under Massachusetts law

($4.35) and the basic minimum wage under Massachusetts law ($12.00).

NOTICE REQUIRED TO TAKE TIP CREDIT

   35.   Under the FLSA, an employer must provide the following information to a tipped

employee before the employer may use or take the FLSA 3(m) tip credit:

             a. the amount of cash wage the employer is paying a tipped employee, which must

                be at least $2.13 per hour;

             b. the additional amount claimed by the employer as a tip credit, which cannot

                exceed $5.12 (the difference between the minimum required cash wage of $2.13

                and the current minimum wage of $7.25);

             c. that the tip credit claimed by the employer cannot exceed the amount of tips

                actually received by the tipped employee;

             d. that all tips received by the tipped employee are to be retained by the employee

                except for a valid tip pooling arrangement limited to employees who customarily

                and regularly receive tips; and

             e. that the tip credit will not apply to any tipped employee unless the employee has

                been informed of these tip credit provisions. See Fact Sheet # 15: Tipped

                Employees Under the Fair Labor Standards Act (FLSA) attached hereto as

                Exhibit A.

   36.   Defendant failed to provide Plaintiff with the information required by the FLSA before

using or taking the FLSA 3(m) tip credit.




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   37.   Under Massachusetts law, an employer must inform tipped employees in writing of the

provision of Mass. Gen. Laws chapter 151, section 7, paragraph 3 before the employer may use or

take a tip credit. Exhibit B.

   38.   Defendant failed to inform Plaintiff in writing of the provision of Mass. Gen. Laws

chapter 151, section 7, paragraph 3 before using or taking a tip credit.

OVERTIME WAGES FOR TIPPED EMPLOYEES

   39.   Under federal law, the overtime rate for a tipped employee receiving the service rate is

one-and-one-half times the basic minimum wage ($7.25 x 1.5 = $10.875), except where exempted

under federal law.

   40.   Under Massachusetts law, the overtime rate for a tipped employee receiving the service

rate is one-and-one-half times the basic minimum wage ($11.00 x 1.5 = $16.50 (for 2018) or $12

x 1.5 - $18.00 (for 2019)), except where exempted under Massachusetts law.

   41.   Plaintiff is not exempted under Massachusetts or federal law.

   42.   Defendant is not exempted under Massachusetts or federal law.

PLAINTIFF’S WAGES WITH DEFENDANT

   43.   Plaintiff has been employed by Defendant as a dealer from approximately July 2018 to

the present.

   44.   In 2018, Defendant paid Plaintiff a service rate of $5.00 per hour, plus dealer tips, also

known as “tokes.”

   45.   In or about March 2019, Defendant paid Plaintiff a service rate of $5.09 per hour, plus

dealer tips, also known as “tokes.”




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DEFENDANT’S TIP CREDIT

   46.   In 2018, Defendant took a tip credit for Plaintiff of $6.00 per hour towards the basic

minimum wage ($11.00 per hour) under Massachusetts law.

   47.   In 2018, Defendant took a tip credit for Plaintiff of $2.25 per hour towards the basic

minimum wage ($7.25) under federal law.

   48.   From approximately January 2019 through approximately February 2019, Defendant

took a tip credit for Plaintiff of $7.00 per hour towards the basic minimum wage ($12.00 per hour)

under Massachusetts law.

   49.   From approximately January 2019 through approximately February 2019, Defendant

took a tip credit for Plaintiff of $2.25 per hour towards the basic minimum wage ($7.25) under

federal law.

   50.   From approximately March 2019 to the present, Defendant took a tip credit for Plaintiff

of $6.91 per hour towards the basic minimum wage ($12.00) under Massachusetts law.

   51.   From approximately March 2019 to the present, Defendant took a tip credit for Plaintiff

of $2.16 per hour towards the basic minimum wage ($7.25) under federal law.

OVERTIME PAY TO PLAINTIFF

   52.   Under Massachusetts law, an employer may not take a tip credit for an overtime hour.

See 454 CMR 27.03 (3) attached hereto as Exhibit B.

   53.   Under the FLSA, an employer may not take a larger tip credit for an overtime hour than

it takes for a straight time hour. See Exhibit A.

   54.   In 2018, Defendant paid Plaintiff overtime at a rate of one-and-one-half times the service

rate ($5.00 x 1.5 = $7.50) instead of one-and-one-half times the basic minimum wage ($11.00 x

1.5 = $16.50) as required by Massachusetts law.



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   55.   From approximately January 2019 through February 2019, Defendant paid Plaintiff

overtime at a rate of one-and-one-half times the service rate ($5.00 x 1.5 = $7.50) instead of one-

and-one-half times the basic minimum wage ($12.00 x 1.5 = $18.00) as required by Massachusetts

law.

   56.   From approximately March 2019 to the present, Defendant paid Plaintiff overtime at a

rate of one-and-one-half times the service rate ($5.09 x 1.5 = $7.64) instead of one-and-one-half

times the basic minimum wage ($12.00 x 1.5 = $18.00) as required by Massachusetts law.

   57.   From approximately 2018 through February 2019, MGM took a tip credit of $2.25 per

hour in an attempt to satisfy its minimum wage obligations under the FLSA.

   58.   From 2018 through approximately February 2019, Defendant paid Plaintiff overtime

compensation at a rate of one-and-one-half times the service rate ($5.00 x 1.5 = $7.50) instead of

one-and-one-half times the basic minimum wage ($7.25 x 1.5 = $10.875) as required by federal

law. In addition, by paying Plaintiff at a rate of $7.50 per hour for overtime, Defendant took a tip

credit of $3.375 ($10.875 – $7.50 = $3.375) which is more than the maximum tip credit of $2.25

it was allowed to take under the FLSA.

   59.   From approximately March 2019 to the present, MGM took a tip credit of $2.16 per hour

to satisfy its minimum wage obligations under the FLSA.

   60.   From approximately March 2019 to the present, Defendant paid Plaintiff overtime

compensation at a rate of one-and-one-half times the service rate ($5.09 x 1.5 = $7.64) instead of

one-and-one-half times the basic minimum wage ($7.25 x 1.5 = $10.875) as required by federal

law. In addition, by paying Plaintiff at a rate of $7.64 per hour for overtime, Defendant took a tip

credit of $3.24 ($10.875 – $7.64 = $3.24) which is more than the maximum tip credit of $2.16 it

is allowed to take under the FLSA.



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   61.   At various times throughout his employment, Plaintiff worked more than forty hours in

a workweek. See Exhibit C.

   62.   Plaintiff filed a timely complaint with the Massachusetts Attorney General’s Office

requesting permission to pursue a private right of action in Court. See Exhibit D.

DEDUCTIONS FROM EARNED WAGES

   63.   With limited exceptions, the Massachusetts Wage Act generally prohibits an employer

from deducting from, or withholding payment of, any earned wages.

   64.   Defendant deducted $300.00 from Plaintiff’s earned wages over a period of 4 weeks for

a gaming employee license fee (a/k/a “Badge/Card” deduction) in violation of the Massachusetts

Wage Act.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

   65. Attached to this Complaint as Exhibit E is a written consent to the filing of the Complaint

duly executed by Plaintiff pursuant to 29 U.S.C. §216(b).

   66. Plaintiff seeks to pursue this action as an FLSA collective action on behalf of himself and

all other tipped employees who have worked or who currently work for MGM (the “FLSA

Collective”).

   67. While the exact number of members of the FLSA Collective is unknown to Plaintiff at the

present time, Plaintiff believes that at least one hundred (100) similarly situated persons fall within

the class’s definition. Thus, a collective action is the most efficient mechanism for resolution of

the claims of the FLSA Collective.

   68. The FLSA Collective members were paid in the same manner and under the same standard

employment procedures and practices as Plaintiff, including as they relate to overtime, minimum

wage, and deductions.



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OVERTIME ALLEGATIONS

   69. Plaintiff and the FLSA Collective members worked more than forty hours in at least one

workweek.

   70. Plaintiff and the FLSA Collective members were not paid overtime wages at the rate of

one-and-one-half times the basic minimum wage for all hours worked in excess of forty during

each workweek as required by the FLSA.

   71. Plaintiff and the FLSA Collective members were all subject to Defendant’s common policy

and practice of calculating the overtime rate for tipped employees based on their service rate

instead of the basic minimum wage.

   72. Plaintiff and the FLSA Collective members were not exempt from the overtime provisions

of the FLSA.

   73. Defendant was aware of Defendant’s common policy and practice of calculating the

overtime rate for tipped employees based on their service rate instead of the basic minimum wage.

   74. Defendant was aware that Plaintiff and the FLSA Collective members were not exempt

from the overtime provisions of the FLSA.

   75. Plaintiff is currently unaware of the identities of all the FLSA Collective members.

   76. Defendant violated 29 U.S.C. §207(a) by failing to pay the Plaintiff and the FLSA

Collective members one-and-one-half times the basic minimum wage for all hours worked in

excess of forty during each workweek.

   77. Defendant’s violations of 29 U.S.C. §207(a) were willful, repeated, and intentional.

   78. Plaintiff and the FLSA Collective members have been damaged by said violations of 29

U.S.C. §207(a).




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   79. Pursuant to 29 U.S.C. §207(a) and §216(b), Defendant is liable to the Plaintiff and the

FLSA Collective members for the full amount of their unpaid overtime compensation, plus an

additional equal amount as liquidated damages, plus interest, attorneys’ fees and costs.

MINIMUM WAGE ALLEGATIONS

   80. Plaintiff and the FLSA Collective members were not paid the basic minimum wage for all

hours worked as required by the FLSA.

   81. Plaintiff and the FLSA Collective members were all subject to Defendant’s common policy

and practice of paying its tipped employees less than the basic minimum wage and taking a tip

credit but failing to properly inform its employees about the tip credit as required by federal law

(29 U.S.C. § 203(m)).

   82. Plaintiff and the FLSA Collective members were not exempt from the minimum wage

provisions of the FLSA.

   83. Defendant was aware of Defendant’s common policy and practice of paying its tipped

employees less than the basic minimum wage and taking a tip credit but failing to properly inform

its employees about the tip credit as required by federal law (29 U.S.C. § 203(m)).

   84. Defendant was aware that Plaintiff and the FLSA Collective members were not exempt

from the minimum wage provisions of the FLSA.

   85. Plaintiff is currently unaware of the identities of all the FLSA Collective members.

   86. Defendant violated 29 U.S.C. §206 by paying Plaintiff and the FLSA Collective members

less than the basic minimum wage and taking a tip credit but failing to properly inform the

members about the tip credit as required by federal law (29 U.S.C. § 203(m)).

   87. Defendant’s violations of 29 U.S.C. §207(a) were willful, repeated, and intentional.




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    88. Plaintiff and the FLSA Collective members have been damaged by said violations of 29

U.S.C. §207(a).

    89. Pursuant to 29 U.S.C. §206 and §216(b), Defendant is liable to the Plaintiff and the FLSA

Collective members for the difference between the minimum wage under the FLSA and the service

rate that they were paid, plus an additional equal amount as liquidated damages, plus interest,

attorneys’ fees and costs.

                   MASSACHUSETTS CLASS ACTION ALLEGATIONS

    90.   The class allegations are brought pursuant to Rule 23 of the Massachusetts Rules of Civil

Procedure on behalf of Plaintiff and all other tipped employees who have worked or who currently

work for MGM (the “Class”).

    91.   The Class includes all persons who are or were employed by Defendant as tipped

employees (a) that were not paid overtime wages at the rate of one-and-one-half times the basic

minimum wage for all hours worked in excess of forty during each workweek, (b) that were not

paid at least the basic minimum wage for all hours worked, and/or (c) that had a gaming employee

license fee deducted from their pay.

    92.   Plaintiff reserves the right to modify the Class definition before moving for class

certification, including a reservation of the right to seek to certify subclasses, if discovery or other

factors reveal that modifying the class definitions and/or seeking additional subclasses would be

appropriate.

    93.   The Relevant Period is limited to the applicable statute of limitations for claims at issue

and runs until the date of entry of final judgment in this action.

    94.   The Class is composed of at least one hundred (100) people, the joinder of whom is

impracticable except by means of a class action. The disposition of their claims in a class action



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will benefit the parties and the Court. Defendant employed at least one hundred (100) tipped

employees in Massachusetts, and thus the Class is sufficiently numerous to make joinder

impracticable, if not completely impossible.

    95.   There is a well-defined community of interest in the questions of law and fact involving

and affecting the parties to be represented. Common questions of law and fact exist and such

common questions predominate over any questions of law or fact which may affect only individual

Class members. Such common questions include but are not limited to the following:

              a.   Whether Defendant paid overtime compensation to Plaintiff and the Class based

on the service rate instead of the basic minimum wage;

              b.   Whether Defendant paid to Plaintiff and the Class less than the basic minimum

wage;

              c.   Whether Defendant took a tip credit for Plaintiff and the Class;

              d.   Whether Defendant properly informed Plaintiff and the Class in writing about the

tip credit;

              e.   Whether Defendant deducted gaming employee license fees from the Plaintiff and

the Class;

              f.   Whether Defendant violated Massachusetts law when it paid overtime

compensation to Plaintiff and the Class based on the service rate instead of the basic minimum

wage;

              g.   Whether Defendant violated Massachusetts law when it paid Plaintiff and the

Class less than the basic minimum wage;

              h.   Whether Defendant violated Massachusetts law when it took a tip credit for the

Plaintiff and the Class;



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            i.     Whether Defendant violated Massachusetts law when it failed to inform Plaintiff

and the Class in writing about the tip credit; and

            j.     Whether Defendant violated Massachusetts law when it deducted gaming

employee license fees from the Plaintiff and the Class.

            k.     Whether, by reason of Defendant’s violations of Massachusetts law, Plaintiff and

the Class are entitled to damages;

    96.   Plaintiff asserts claims that are typical of the claims of the entire Class because of

Defendant’s common policies and practice of:

                 a. calculating the overtime rate for tipped employees based on their service rate

                    instead of the basic minimum wage;

                 b. paying its tipped employees less than the basic minimum wage;

                 c. taking a tip credit relative to its tipped employees;

                 d. failing to properly inform its employees about the tip credit; and

                 e. deducting gaming employee license fees (a/k/a “Badge/Card” fees) from

                    employees pay.

    97.   Plaintiff and his attorneys will fairly and adequately represent and protect the interest of

the Class. Plaintiff has no interests antagonistic of those of the Class. Plaintiff has retained counsel

who are competent and experienced in class action litigation.

    98.   Defendant has acted or refused to act on grounds generally applicable to all members of

the Class, thereby making final relief concerning the Class as a whole appropriate.

    99.   Plaintiff and the Class have suffered injury and damages as a result of Defendant’s

wrongful conduct as alleged herein. Absent a class action, the Class will continue to suffer injury,




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thereby allowing these alleged violations of law to proceed without remedy, and allowing

Defendant to retain the proceeds of its ill-gotten gains.

   100. Plaintiff anticipates that there will be no difficulty in the management of this litigation.

A class action is superior to other available methods for the fair and efficient adjudication of this

controversy.

                                    COUNT I
               FAIR LABOR STANDARDS ACT – Payment of Overtime Due
                           (29 U.S.C. §§ 207 and 216(b))

   101. Plaintiff reasserts and incorporates herein each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully in this count of the Complaint.

   102. Defendant employed Plaintiff and the FLSA Collective members for workweeks longer

than forty (40) hours.

   103. During the weeks where Plaintiff and the FLSA Collective members worked more than

forty (40) hours, Plaintiff and the FLSA Collective members did not receive compensation for

their employment in excess of forty (40) hours at a rate not less than one-and-one-half times the

basic minimum wage as required by the FLSA.

   104. Plaintiff and the FLSA Collective members are entitled to damages.

                                   COUNT II
                   MINIMUM FAIR WAGES – Payment of Overtime Due
                          (Mass Gen. Laws, Ch. 151, § 1A)

   105. Plaintiff reasserts and incorporates herein each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully in this count of the Complaint.

   106. Plaintiff has complied with all prerequisites to filing suit under Mass. G.L. ch. 149 and

otherwise.




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   107. Defendant employed Plaintiff and the Class members for workweeks longer than forty

(40) hours.

   108. During the weeks where Plaintiff and Class members worked more than forty (40) hours,

Plaintiff and the Class members did not receive compensation for their employment in excess of

forty (40) hours at a rate not less than one-and-one-half times the basic minimum wage regular

rate as required by Massachusetts law.

   109. Plaintiff and Class members are entitled to damages.

                                    COUNT III
              FAIR LABOR STANDARDS ACT – Payment of Minimum Wage
                           (29 U.S.C. §§ 206 and 216(b))

   110. Plaintiff reasserts and incorporates herein each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully in this count of the Complaint.

   111. Defendant employed Plaintiff and the FLSA Collective members at a rate less than $7.25

per hour as required by the FLSA.

   112. Plaintiff and the FLSA Collective members are entitled to damages.

                                 COUNT IV
               MINIMUM FAIR WAGES – Payment of Minimum Wage Due
                         (Mass Gen. Laws, Ch. 151, § 1)

   113. Plaintiff reasserts and incorporates herein each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully in this count of the Complaint.

   114. Defendant employed Plaintiff and the Class members at a rate less than $11.00 per hour

in 2018 as required by Massachusetts law.

   115. Defendant employed Plaintiff and the Class members at a rate less than $12.00 per hour

in 2019 as required by Massachusetts law.

   116. Plaintiff and the Class Members are entitled to damages.



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                                     COUNT V
                  MASSACHUSETTS WAGE ACT – Improper Deductions
                      (Mass. Gen. Laws, Ch. 149, §§ 150A and 180)

   117. Plaintiff reasserts and incorporates herein each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully herein.

   118. Defendant made a deduction from the wages of Plaintiff and Class members for

Badge/Card fees in violation of Massachusetts law.

   119. Plaintiff and Class Members are entitled to damages.

                                    COUNT VI
                 WEEKLY PAYMENT OF WAGES – Failure to Pay Wages
                      (Mass. Gen. Laws, Ch. 149, §§ 148 and 150)

   120. Plaintiff reasserts and incorporates herein each and every allegation in the preceding

paragraphs of this Complaint as if set forth fully in this count of the Complaint.

   121. Plaintiff has complied with all prerequisites to filing suit under Mass. G.L. ch. 149 and

otherwise.

   122. Defendant failed to pay weekly or bi-weekly to Plaintiff and the Class members all the

wages earned by Plaintiff and Class members within seven days of the termination of the pay

period during which the wages were earned.

   123. Plaintiff and Class members were employed seven days in a calendar week by Defendant.

   124. Plaintiff and Class members are entitled to damages.

                                     CLAIMS FOR RELIEF

       Wherefore, Plaintiff, the FLSA Collective members, and the Class members, respectfully

request that the Court:

   A. Declare Counts I and III of this action to be maintainable as a collective action pursuant to

29 U.S.C. §216(b), and direct Defendant to provide Plaintiff with lists of all persons employed by


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it as tipped employees, including but not limited to the last known address, telephone number, and

email address of each such person, so that Plaintiff can give such persons notice of this action and

an opportunity to make an informed decision about whether to participate in it;

   B. Declare this action to be maintainable as a class action pursuant to Mass. R. Civ. P. 23 as

it relates to Counts II, IV, V, and VI;

   C. Designate Plaintiff as the representative of the Class;

   D. Designate Plaintiff’s counsel as Class counsel;

   E. Determine the damages sustained by Plaintiff and the FLSA Collective members as a result

of Defendant’s violations of 29 U.S.C. §§ 206 and 207, and award those damages against

Defendant and in favor of Plaintiff and the FLSA Collective members, plus an additional equal

amount as liquidated damages pursuant to 29 U.S.C. §216(b), and such interest as may be allowed

by law;

   F. Determine the damages sustained by Plaintiff and the Class members as a result of

Defendant’s violations of Mass. G. L. c. 151, §§1, 1A and 1B; M.G.L. c. 149 §§148, 150, 150A

and 180, and award treble damages against Defendant and in favor of said Plaintiff and the Class

members, and such interest as may be allowed by law;

   G. Award Plaintiff, the FLSA Collective members, and the Class members their costs and

disbursements of this suit, including, without limitation, reasonable attorneys’ fees, accountants’

fees, and experts’ fees and such interest as may be allowed by law; and

   H. Grant Plaintiff, the FLSA Collective members and the Class members such other and

further relief as the Court may deem just and proper.




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                                            JURY DEMAND

       Plaintiff, on behalf of himself and all others similarly situated, hereby demands a trial by

jury on all issues and claims so triable.


Dated: October_____,
                28   2019                      Plaintiff
                                               By His Attorneys,


                                               ____________________________________
                                               Benjamin Knox Steffans (BBO# 568535)
                                               Steffans Legal LLC
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